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                           UNITED STATES DISTRICT COURT
                           SO U TH ER N DISTR IC T O F FL O RID A


  UN ITED STATES O F A M ERICA ,
  ex rel.
  DOLOSANALYTICS,LLC,a
  Delawarelimitedliability company,                CaseNo.:         SEALEP
         Plaintiff,

  VS.

  EXPO CONVENTION CONTRACTORS,                           FILED BY                  ,C.
  IN C .,a Florida com oration;and EX PO
  M AN AGEM ENT SERVICES,lN C.,                                sEF 2 2226
  a Florida corporation,                                       ANGELA E.NOBLE
                                                              ct.ERKU.s,Dlsm cT.
                                                              s.D.oF FLA .-MIAMI
         Defendants.
                                            /

                                   OUI TO       COM PLAINT

        PlaintiflltheUnited StatesofAmerica(ttunited States'),exrel.DolosAnalytics,LLC,a
 Delawarelimitedliabilitycompany(1éRe1ator''),throughitsundersigned cotmsel,herebyfilesthis
 quitam ComplaintagainstDefendantsExpo Convention Contractors,lnc.,aFlorida corporation

 CûExpo Contractors'), and Expo M anagement Services, lnc., a Florida comoration (tlExpo
 M anagemenf'),(collectively GtDefendants''),andinsupportthereofstatesasfollows:
                                      IN TR O DU C TIO N

                Thisquitam actionallegesviolationsoftheFederalFalseClaimsAct(ç1FCA''),31
  U.S.C.j3729,etseq.(çTCA'')arisingfrom Defendants'fraudulentmisrepresentationspresented
  totheUnitedStatesSmallBusinessAdministration(ûGSBA'')andlenderactingontheSBA'Sbehalf,
  in their application to obtain and have forgiven over one m illion dollars in loans tmder the

  Paycheck Protection Program .
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        2.     Founded in 1995,Defendantsand theirao liates manage and coordinate events,

 trade shows,and conferences for clients throughout the United States and em ploy over 300

 em ployees.
               Defendantsaream liated with each otherbecausethey controlorhavethe powerto

 controlone another,orathird party orpartiescontrolsorhasthepowerto controltheDefendants

 and otherparties.
        4.     Defendantsdeceived the SBA into lending them and overone m illion dollars by

 knowingly misrepresenting theirmlmberofem ployees combined w ith theiraffiliatesto con the

 SBA intoacceptingtheireligibility forloansundertheapplicable SBA sm allbusinessesstandards.

                               JURISDICTION AND VENUE

        5.     ThisCourthmssubjectmatterjtlrisdiction overthisquitam action broughttmder
 theFCA,31U.S.C.jj 3279,etseq-,plzrsuantto 28U.S.C.jj1331and 1345,and 31U.S.C.jj

  3732(a)and 3730(b).
               Relatorisan ttoriginalsotlrce''and otherwise authorized to m aintain thisaction in

  thenameoftheUnitedStatesandascontemplatedbytheFCA,31U.S.C.jj3729-33.Relatorhas
  orwillm ake allthenecessary voluntary disclosuresto the United Statesand tiled al1docum ents

  necessarywiththeUnitedStatesasrequiredby31U.S.C.j3730(b)(2).
                There has been no public disclostlre of the tçallegations ortransactions''in this

  ComplaintunderSection 3730(e)oftheFCA.The specifk facts,circumstances,andallegations
  of Defendants'violations of the FCA have not been publicly disclosed in a civil suit or

  adm inistrative civilmoney penalty proceeding in which the United States is already a party.

  M oreover,Relatorisan tloriginalsotlrce''oftheallegationsinthisComplaintunder31U.S.C.j
  3730/)oftheFCA,evenhadsuchapublicdisclostlreoccurred.



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        8.     TheCourthaspersonaljurisdiction overDefendantsbecause31U.S.C.j3732(a)
 authorizesnatione de service ofprocess,and because Defendantshave minimum contactswith

 theU nited States,canbefotmd in,andtransactorhavetransactedbusinessin the Southem District

 ofFlorida.Further,theactsproscribedby 31U.S.C.j 3729(a)and described inthisComplaint
 occurred in the Southern DiskictofFloridaand elsewhere in theUnited States.

        9.     The Defendantsare ao liated entitiesthatdo businessin the Southem Districtof

 Florida and throughoutthe United Statesand thateitherdirectly orthrough itsao liatesm ade or

 causedtobemadefalsestatem entstotheSBA tO obtain andhaveforgiven overonemilliondollars

 inPPPloans,andaccordingly,aresubjecttothejurisdictionofthisCourt.
               Venueliesunder28 U.S.C.j 1391(b),(c)and 31U.S.C.j 3732(a)becausethe
  Southem DistrictofFloridaisadistrictin whichtheDefendantscan befotmdortransactsbusiness,

  andanactproscribedby 31U.S.C.j3729occurredwithinthisdistrict.
                                          PARTIES

                Plaintiffc elator,Dolos Analytics,LLC,a Delaware lim ited liability company,
  bringsthisactionon behalfoftheUnited States,therealparty in interest.Relatorisatenm ofda>

  analytics professionals specialized in gathering data from public and private sources and

  developing m odelsto identify suspiciousactivity in such data sets.Asitpertainsto this matter,

  Relator gathered data related to a11applicants ofthe SBA'SPaycheck Protection Program from

  publicandprivatesotzrcesanddesignedanalyticalm odelsthatidentified suspiciousactivityrelated

  to the applicants'data.Thereafter,Relator'sprofessionalteam manually reviewed the suspicious

  activity and identitied variousfraudulentstatem entsm ade by Defendantsto the SBA assetforth

  herein.Relatorhasdirectand independentknowledge ofthe factualallegationscontained in this

  quitam Complaintand brings thisaction asan ttoriginalsotlrce,''asthatterm is defined by the

  FCA .

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          12.    DefendantExpo Convention Contractors,lnc.is a Florida corporation with its

 pdncipalplaceofbusinesslocated at15959NW lsthAvenue,M iami,FL 33169.Expo Contractors

 transactsbusinessandhasextensivebusinesscontactswithin M iami-DadeCotmty,Florida.Atall

 tim esmaterialhereto,Expo Contractorsdirectly orindirectlythrough itssubsidiariesand ax liates

 knowingly m isrepresented thatitwasan eligible sm allbusinessin itsSBA PPP loan application

 to qualify for,receive,and ultimately have forgiven overfotlrhundred thousand dollarsin PPP

 loans.
          13.    D efendant Expo M anagement Services, lnc.is a Florida com oration with its

 principal place of business located at 15959 NW 15th Avenue, M inm i, FL 33169. Expo

 M anagem enttransactsbusinessand hasextensivebusinesscontactswithin M iam i-Dade County,

 Florida.At a11 tim es m aterial hereto, Expo M anagem ent directly or indirectly through its

  subsidiades and am liatesknowingly m isrepresented thatitwasan eligible sm allbusiness in its

  SBA PPP loan applicationto qualify for,receive,and ultimately haveforgiven overeighthtmdred

  thousand dollarsin PPP loans.
                                  FAC TU AL A LLEG ATIO N S

  1.      The Pavcheck Protection Proeram
          14. On M arch 27,2020,CongressenactedthePaycheckProtection Program (<TPP'')
  aspartoftheCoronavirusAid,Relief,andEconomicSecurityActCCCARES Act'')inresponseto
  theCOVID-19 crisis.UnderthePPP,the SBA lent,guaranteed,and ultim ately forgavehundreds

  ofbillions ofdollarsto businesses and other organizations.
           15.    The PPP enabled borrowers to rapidly obtain low-interest loans from private

  lenderstopay employeesand certain expensesto alleviatetheunprecedented challengespresented

  by theCOVlD-19 crisis.



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          16.   Ptlrsuantto Section 1102oftheCARES Act,theSBA guaranteed 100% ofthePPP

 loans to incentivize private lenders across the country to participate in making such loans

 expeditiously.

                Section 1106 of the CARES Act m ade the loans eligible for partial or full

 forgivenesssubjecttotheborrower'scertitkationthatthefundswereusedwithinaspecificperiod
 tom aintain payroll,m akerentormortgagepaym ents,andpay otherspecified businessexpenses.

          18.     To qualify fora firstdraw PPP loan,the borrower had to acknowledge the PPP

 progrnm rulesand makecertain affirmative certificationsto beeligibleto obtain aPPP loan.

 lI.      The PPP Second D raw A pplication Process
          19.     On December21,2020,Congress approved additionalfundsto replenish thePPP

 and allow Borrowersto apply forsecond draw loans.Aswith thePPP first& aw loans,Borrowers

 were ableto rapidly obtain low -interestforgivableloansfrom privatelendersto pay forspecified

 businessexpenses.
          20.     Congressm odified certain eligibility requirementsforthe PPP second draw loans.

  Specitk ally relevanthere,toqualify foraPPP second draw loan,theborrower,combined with its

  affliates,must,interalia,have300 orfeweremployees,saveforlimited exceptionsnotapplicable

  here.
                  As with the first draw loans,the SBA delegated authority to private lenders to

  underwriteand approvethePPP second draw loans.Borrowershadto completeand subm itaPPP

  second draw loan application compliant with SBA Form 2483-5D online through its private

  lender's platform .The PPP loan application required the business to acknowledge the PPP

  program rulesand certify itseligibility to obtain the PPP loan,including,nmongstotherthings,

  thatithad 300 orfew erem ployees.



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         22.    Once the Borrowersubm itted its PPP second draw loan application to a private

 lender,the lender processed the application and if approved,the lender submitted its own
 application compliantwith SBA Form 2484-517 to the SBA certifying thattheborrowercertified

 itseligibility to receiveaPPP second draw loan.Upon receiptofthelender'sapplication theSBA

 approved and guaranteed theloan and assigned italoan mlmber.

         23.    UponreceiptoftheSBA'Sguarantee,thelenderdisbtlrsed the loan totheborrower

 using its own funds and notified SBA thatthe loan was fully disblzrsed.Upon receiptofthat

 notification,SBA paid the lenderaprocessing fee.

 111.    The PPP Loan ForeivenessA pplication
         24.    Borrowerswere eligibleto apply forforgivenessofthe fundsborrowed and spent

 on specified business expenses dtlring the eightto twenty-fotlrweek covered period following

 each loan disbursement.
         25.    Borrowerscould apply forloan forgivenessatany tim ebeforethe loan'sm aturity

  date by completing and submitting SBA Form 3508,or one of its variations depending on

  circllmstances.Ptlrsuantto SBA Form 3508,borrowers were required to certify thatthey were

  eligibleforloan forgiveness.
  IV .   Expo C ontractors'Second D raw FraudulentPPP Loan A pplication and Foreiveness
         A pplication
         26.     Expo Contractors submitted a PPP second draw loan application compliantwith

  SBA Form 2483-517tolntemationalFinanceBnnk(Eçlntemational'')falselycertifyingitseligibility
  to receive a PPP loan.Expo Contractors certified thatithad 228 em ployees.Expo Contractors

  falsely certified thatcombined with itsaffiliates,ithad 300 orfeweremployees.

          27.    International processed and approved Expo Contractors' PPP second draw

  application in the nm olmt of $424,500.00. Relying on Expo Contractors' certifications,


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 Intem ationalsubmitted a PPP loan application compliantw ith SBA Form 2484-517 to the SBA

 certifying thatExpo Contractorshad certified thatitwaseligibletoreceive said PPP loan.

        28.     On oraboutM arch 20,2021,and relying on Expo Contractors'false certification,

 the SBA approved and guaranteed the PPP loan and issued Expo Contractors' loan nlzm ber

 4885258610.Intem ationaldisbtlrsed the PPP loan to Expo Contractorsand notifed the SBA of

 such disbm sement,atwhich pointtheSBA paid Internationalaprocessing fee.
        29.     Expo Contractors applied for forgiveness of its PPP second draw loan by

 subm itting,orcausing to be submitted,SBA Form 3508 to the SBA.On oraboutNovember2,

 2021, Expo Contractors' PPP loan, plus accrued interest, was forgiven in the am ount of

 $427,093.52.
 V.     Expo M anaeem ent's Second D raw FraudulentPPP L oan Application and
        ForzivenessA pplieation
        30.     Expo M anagem entsubm itted a PPP second draw loan application compliantwith

  SBA Form 2483-517 to Intem ationalfalsely certifying itseligibility to receive a PPP loan.Expo

  M anagem entcertifedthatithad 75em ployees.Expo M anagementfalselycertifiedthatcombined

  with itsaffiliates,ithad 300 orfeweremployees.
         31.    lntem ational processed and approved Expo M anagem ent's PPP second draw

  application in the am otmt of $830,200.00. Relying on Expo M anagement's certitications,
  lnternationalsubmitted a PPP loan application compliantwith SBA Fonn 2484-517 to the SBA

  certifying thatExpo M anagementhad certified thatitwaseligibleto receivesaid PPP loan.

                 On oraboutM ay 12,2021,and relying on Expo M anagem ent'sfalsecertitication,

  the SBA approved and guaranteed the PPP loan and issued Expo M anagem ent's loan num ber

  8836228908.lnternationaldisbtlrsed thePPP loan to Expo M anagementand notitied the SBA of

  such disbursem ent,atwhich pointthe SBA paid Intem ationala processing fee.



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       33.       Expo M anagement applied for forgiveness of its PPP second draw loan by

 subm itting,orcausing to be subm itted,SBA Form 3508 to the SBA.On oraboutNovember 19,

 2021, Expo M anagem ent's PPP loan,plus accrued interest, was forgiven in the am ount of

 $834,498.84.
 Vl.    The DefendantsarenotOualifed Sm allBusinesses
        34.      Defendantsaream liated entitiesbecausethey controlorhavethepowerto control

 one another,ora third party orpartiescontrolorhavethe powerto controlthe Defendantsand

 otherparties.
                 To bean eligible sm allbusinessto receive second draw PPP loans,theDefendants

 along with al1oftheirax liates,had to have300 orfeweremployees.
        36.      Defendantsand theirax liatesm anageallaspectsoftrade showsand conferences

 fortheirclientswith o/ cesstrategically located throughouttheUnited Statesand Colombia.

        37.      Defendantsandtheiram liatesemploy morethan 300 em ployees.
        38.      Expo Contractorswasnoteligibleto receiveorhave forgiven a PPP loan because

  combinedw ith itsaG liatesithasmorethan 300 em ployees.
        39.       Expo M anagementwasnoteligibletoreceiveorhaveforgiven aPPP loan because

  com binedwith itsaG liatesithasm orethan 300 employees.

  V II. The False C laim sA ct
        40. TheFalseClaimsAct,31U.S.C.jj3729-3733,istheprimarytoolwithwhichthe
  United Statescombatsfraud againstit.The Supreme Courthasheld thatthe False ClaimsAct's

  provisionsm ustbeconstruedbroadly toreach ûialltypesoffraud,withoutqualitk ation,thatmight

  resultin tinanciallossto the Government.''United States v.Nefert-White,390 U.S.228,232

  (1968).


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        41.    The FCA providesthata person orentity thatknowingly presentsorcausesto be

 presented a false or fraudulentclaim for approvalor m akes or causes to be made a false or

 fraudulentclaim thatism aterialto afalse orfraudulentclaim isliable to the United States fora

 civilpenaltyofnotlessthan $5,000andnotmorethan $10,000,asadjusted,plusthreetimesthe
 amotmtofdamageswhichtheUnitedStatessustainsduetotheconduct.31U.S.C.j3729(*;28
 C.F.R.j85.5(a)(adjustingpenaltiesassessedafterJanuary30,2023toaminimtlm of$13,508and

 maximum of$27,018).
        42.    Theterm sttknowing''and tfknowingly''aredefined by theFCA to mean that,with

 respectto the subjectfalse infonnation,aperson has actualknowledge ofthe falsity,actsin
 deliberate ignoranceofthetruth orfalsity,oractsin recklessdisregard ofthetnzth orfalsity,and

 proofofspecificintenttodefraudisnotrequired.31U.S.C.j3729419.
        43.    Asdetined in theFCA,theterm ççclaim''meansany requestordemand form oney

  orproperty thatispresented orcaused to be presented to the United States;orthatism ade to a

  contractor,grantee,orotherrecipient,ifthe money isto be spentorused on behalfofthe United

  Statesorto advance aUnited Statesprogram orinterest,so long asthe United Statesprovidesor

  hasprovided any portion ofthe subjectmoney orproperty orwillreimbtlrse such contractor,
  grantee,orotherrecipientforanyportionofthesubjectmoney orproperty.f#.
         44.    The term ûçmaterial''isdefined in the False Claim sActto mean having a natural

  tendency to influence,orbecapable ofintluencing,thepaymentorreceiptofmoney orproperty.

  1d.




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                                   CAUSES OF ACTION

               Count1:FalseorFraudulentClaims(31U.S.C.j3729(a)(1)(A))
                                     (ExpoContractors)
        45.    Relatorre-allegesandincorporatesin thisCotmt1,Paragraphs1through 44 ofthis

 quitam Com plaint.
        46.    DefendantExpo Contractorsknowingly presented,orcausedto bepresented,to an

  oftk erorem ployee ofthe United States government,false orfraudulentclaim sforpaym entor

  approval,inviolation oftheFCA,31U.S.C.j3729(a)(l)(A),specifically,thatExpo Contractors
  waseligibleforaPPP loan and to havesuch PPP loan forgiven.
               Because of Expo Contractors' acts,the U nited States sustained dam ages in an

  am ountto bedeterm ined attrialand,therefore,isentitled to treble dam agesundertheFCA,plus

  civilpenaltiesofnotlessthan $13,508.00and notm orethan $27,018.00 foreach violation.

                      CountIl:FalseStatements(31U.S.C.j3729(a)(1)(B))
                                      (ExpoContractors)
         48.    Relatorre-allegesand incom oratesin thisCotmt11,Paragraphs1tllrough 44 ofthis

  quitam Complaint.
         49.    DefendantExpo Contractorsknowingly m ade,used,orcausedto bem ade orused,

  a false record orstatem entm aterialto afalse orfraudulentclaim ,and/orto getthe United SGtes

  topayorapprovefalseorfraudulentclaims,inviolationoftheFCA,31U.S.C.j3729(a)(1)(B).
         50.    Because of Expo Contractors' acts,the United Su tes sustained dnm ages in an

  am ountto bedeterm ined attrialand,therefore,isentitled to trebledam ageslm dertheFCA,plus

   civilpenaltiesofnotlessthan $13,508.00and notm orethan $27,018.00 foreach violation.




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                Count111:ReverseFalseClaims(31U.S.C.j3729(a)(1)(G))
                                     (Expo Contractors)
        51.    Relatorre-alleges and incom oratesin thisCotmt111,Paragraphs 1 through 44 of

 thisquitam Com plaint.
               DefendantExpo Contractorsknowingly made,used,orcaused to bem adeorused,

 a false record orstatementmaterialto an obligation to pay ortransmitmoney orproperty to the

 United States,or knowingly concealed or knowingly and improperly avoided or decreased an

  obligation to pay ortransmitm oney orproperty to theUnited Sutes,in violation oftheFCA,31

  U.S.C.j3729(a)(l)(G).
               Because of Expo Contractors'acts,the United Sutes sustained dam ages in an

  nm ountto be determined attrialand,therefore,isentitled to treblednm agesunderthe FCA,plus

  civilpenaltiesofnotlessthan $13,508.00 and notm orethan $27,018.00 foreach violation.

               CountIV:FalseorFraudulentClaims(31U.S.C.j3729(a)(1)(A))
                                     (Expo Management)
                Relatorre-alleges and incorporates in thisCotmtIV,Paragraphs 1through 44 of

  thisquitam Complaint.
         55.    DefendantExpo M anagem entknowingly presented,orcaused to be presented,to

  an ofticeroremployeeoftheUnited Statesgovem ment,falseorfraudulentclaim sforpaym entor

  approval,inviolationoftheFCA,31U.S.C.j3729(a)(l)(A),specitkally,thatExpoM anagement
  waseligibleforaPPP loan and tohavesuch PPP loan forgiven.
         56.    Because ofExpo M anagement's acts,the United States sustained dam agesin an

   amountto bedeterm ined attrialand,therefore,isentitled to trebledam agesundertheFCA ,plus

   civilpenaltiesofnotlessthan $13,508.00 and notm orethan $27,018.00 foreach violation.



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                    CountV:FalseStatements(31U.S.C.j3729(a)(1)(B))
                                     (ExpoM anagement)
        57.     Relatorre-allegesandincorporatesin thisCountV,Paragraphs 1through 44 ofthis

 quitam Complaint.
        58.     DefendantExpoM anagementknowinglymade,used,orcausedtobem adeorused,

  afalserecord orstatem entmaterialto a false orfraudulentclaim ,and/orto gettheUnited States

  topay orapprovefalseorfraudulentclaims,inviolationoftheFCA,31U.S.C.j3729(a)(1)(B).
         59.    Because ofExpo M anagem ent'sacts,the United States sustained damages in an

  nm otmtto bedeterm ined attdaland,therefore,isentitled to treble dnm agestmdertheFCA,plus

  civilpenaltiesofnotlessthan $13,508.00and notm orethan $27,018.00 foreach violation.

                  CountVI:ReverseFalseClaims(31U.S.C.j3729(a)(1)(G))
                                      (Expo Management)
         60.    Relatorre-alleges and incom oratesin this CountVI,Paragraphs 1 through 44 of

  thisquitam Complaint.
         61.     DefendantExpoM anagementknowinglymade,used,orcaused tobem adeorused,

  a false record orstatementm aterialto an obligation to pay ortransm itm oney orproperty to the

  United States,or knowingly concealed or knowingly and improperly avoided or decremsed an

   obligation to pay ortransmitmoney orproperty to the United States,in violation ofthe FCA,31

   U.S-C.j3729(a)(l)(G).
          62.    Because ofExpo M anagement's acts,the United States sustained dam agesin an

   am ountto bedeterm ined attrialand,therefore,isentitled to trebledamagestmdertheFCA,plus

   civilpenaltiesofnotlessthan $13,508.00 and notmorethan $27,018.00 foreach violation.




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                                PM YER FOR RELIEF

       63. W herefore,Relator,demandsjudgmentinitsfavorasfollows:
          a. AgainstDefendantExpoContractorstmderColmts1,I1,and 1lIlmdertheFCA ,for

             the nmotmtofthe United States'damages,trebled as required by law,plus civil

             penaltiesin anam ountbetween $13,508.00and$27,018.00 foreach and every false

             claim asrequired by law,together with allsuch furtherreliefmay bejustand

             proper;
          b. AgainstDefendantExpo M anagem entunderCountsIV,V ,and VItmdertheFCA,

             fortheamountoftheUnited States'dam ages,trebled asrequired by law,pluscivil

              penaltiesin an amotmtbetween $13,508.00and $27,018.00foreach andeveryfalse
              claim asrequired by law,togetherwith allsuch furtherreliefmay bejustand

              proper;and
              SuchotherreliefasthisCourtmaydeem justandproper,togetherwithinterestand

              costsoftllisaction.
                              DEM AND FOR JURY TRIAL

        Relatordemandsajurytrialastoa1lissuessotriable.
                                                  Respectfully submitted,

                                                  ORTEGA GROUP,PLLC
                                                  AttorneysforRelator
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                                                  CoralGabl Florida 33134
                                                  Telep   ' 0 315-2725


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